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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiffs,           )                4:07CR3117-2
                                         )
             v.                          )
                                         )
SANTIAGO ALMAZAN RIOS,                   )                    ORDER
                                         )
                   Defendants.           )

     Pending before me is the report and recommendation of the magistrate judge
recommending that I deny the motion to suppress. There is no objection.

      After de novo review, I conclude that the report and recommendation should be
adopted for the reasons stated by the magistrate judge in his thoughtful opinion.
Therefore,

      IT IS ORDERED that the report and recommendation (filing 48) is adopted and
the motion to suppress (filing 26) is denied.

      December 5, 2007.                BY THE COURT:

                                       s/Richard G. Kopf
                                       United States District Judge
